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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 MARITES CAMPANO and RAPHAEL           )   CIVIL NO. 15-00439 KSC
 CAMPANO, Individually and as the      )
 Court-Appointed Next Friend for       )   ORDER GRANTING PLAINTIFFS'
 the Minor Children R.M.B.C,           )   MOTION FOR INDICATIVE RULING
                                       )
 R.B.B.C., and M.R.B.C.,               )   APPROVING SETTLEMENT ON BEHALF
                                       )   OF MINORS
             Plaintiffs,               )
                                       )
      vs.                              )
                                       )
 UNITED STATES OF AMERICA,             )
                                       )
                                       )
             Defendant.                )
                                       )


            ORDER GRANTING PLAINTIFFS' MOTION FOR INDICATIVE
             RULING APPROVING SETTLEMENT ON BEHALF OF MINORS

             Before the Court is Plaintiffs Marites and Raphael

 Campanos' Motion for Indicative Ruling Approving Settlement on

 Behalf of Minors, filed December 26, 2018, which the Court

 construes as a Motion to Approve Settlement on Behalf of Minors.

 The Court elects to decide this matter without a hearing

 pursuant to Rule 7.2(d) of the Local Rules of Practice for the

 U.S. District Court for the District of Hawaii.          For the reasons

 articulated below, the Court GRANTS the Motion.

                                 BACKGROUND

             Defendant appealed the judgment in this case.          During

 the pendency of the appeal, the parties reached a tentative

 settlement.    Court approval of the settlement on behalf of the
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 Minor Plaintiffs, R.B.B.C. and M.R.B.C., is a condition of the

 settlement.

            At the December 27, 2018 Status Conference, the Court

 stated that it would grant the Motion if the Ninth Circuit

 remanded the case for that purpose.        Doc. No. 174.

            On January 9, 2019, the Ninth Circuit issued an Order

 remanding the appeal to this Court "for the limited purpose of

 enabling the district court to consider the appellees' motion to

 approve a settlement on behalf of the minor plaintiffs."            Doc.

 No. 175.

                                 DISCUSSION

            Plaintiffs request a ruling that the Court would

 approve the proposed settlement on behalf of the Minor

 Plaintiffs.    According to Plaintiffs, the ruling is necessary to

 satisfy the terms of the proposed settlement.          In addition,

 Plaintiffs submit that the proposed settlement is fair and

 reasonable and in the best interest of the Minor Plaintiffs.

            Federal Rule of Civil Procedure ("FRCP") 62.1

 provides, in pertinent part, that:

            (a) Relief Pending Appeal. If a timely motion is
            made for relief that the court lacks authority to
            grant because of an appeal that has been docketed
            and is pending, the court may:

               (1)   defer considering the motion;

               (2)   deny the motion; or


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               (3)    state either that it would grant the
                      motion if the court of appeals remands for
                      that purpose or that the motion raises a
                      substantial issue. . . .

            . . . .

            (c) Remand. The district court may decide the
            motion if the court of appeals remands for that
            purpose.

 Fed. R. Civ. P. 62.1.      The Court having already indicated that

 it would approve the settlement on behalf of the Minor

 Plaintiffs, and the Ninth Circuit having remanded the case for

 the limited purpose of considering a motion to approve the

 settlement, the Court now addresses the underlying request.

            Based on its extensive knowledge of and familiarity

 with this case, and after reviewing the Stipulation for

 Compromise Settlement and Release Federal Tort Claims Act Claims

 Pursuant to 28 U.S.C. § 2677, attached as Exhibit 2 to the

 Motion, the Court finds that the settlement is fair, reasonable,

 and in the best interest of the Minor Plaintiffs.          Accordingly,

 the Court GRANTS the Motion.

            The Court will separately issue the Order Approving

 Settlement, attached as Exhibit 3 to the Motion.

                                 CONCLUSION

            For the reasons stated above, the Court GRANTS

 Plaintiffs' Motion for Indicative Ruling Approving Settlement on




                                      3
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 Behalf of Minors, filed December 26, 2018, which the Court

 construes as a Motion to Approve Settlement on Behalf of Minors.

            IT IS SO ORDERED.

            DATED:      Honolulu, Hawaii, January 10, 2019.




                                       _____________________________
                                       Kevin S.C. Chang
                                       United States Magistrate Judge




 CIVIL NO. 15-00439 KSC; CAMPANO, ET AL. V. UNITED STATES OF AMERICA;
 ORDER GRANTING PLAINTIFFS' MOTION FOR INDICATIVE RULING APPROVING
 SETTLEMENT ON BEHALF OF MINORS




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